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                  UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF OKLAHOMA

____________________________________
                                         )
1. MITCHCO INTERNATIONAL, INC., )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )         No. CIV-20-1200-JD
                                         )
1. UNITED STATES DEPARTMENT )
OF EDUCATION, and                        )
                                         )
2. HONORABLE BETSY DEVOS, in             )
her official capacity as Secretary, U.S. )
Department of Education,                 )
                                         )
      Defendants.                        )
                                         )


                     COMPLAINT FOR INJUNCTIVE
                      AND DECLARATORY RELIEF

      Plaintiff Mitchco International, Inc. (“Mitchco”), through its undersigned

counsel, respectfully files this Complaint for Injunctive and Declaratory Relief

against the U.S. Department of Education (the “Department” or “DoE”) and

Honorable Betsy DeVos, in her official capacity as Secretary of DoE.

      1.    This Complaint seeks a declaration that the “action, findings and

conclusions” of the Department, acting through an arbitration panel convened by

the Department’s Rehabilitation Services Administration pursuant to 20 U.S.C.
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§ 107d-1 and 34 C.F.R. § 395.37 (the “Arbitration Panel”), are “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law,”

Administrative Procedure Act (“APA”) 5 U.S.C. § 706(2)(A), and otherwise

violative of the APA, id. § 706(2)(B)-(F), and they therefore must be “held

unlawful” and “set aside.” Id. Mitchco further seeks the injunctive relief set

forth below. Id.

      2.    As discussed below, the Oklahoma Department of Rehabilitative

Services (“ODRS”) held a procurement to provide cafeteria food services at the

U.S. Army base at Fort Sill, Oklahoma (the “requirement”). In the procurement,

ODRS was a qualified offeror under the Randolph-Sheppard Act (“R-SA”). The

R-SA requires blind vendors to register with a State Licensing Agency (“SLA”),

which in turn competes for relevant federal contracts. 34 C.F.R. § 395.33. If the

SLA is successful, then in the resulting contracts, the SLA then assigns a blind

vendor to the requirement. See id. §§ 395.2-395.17.

      3.    The U.S. Army conducted a competitive procurement to perform the

requirement, open to the SLA and to commercial entities.            Under such

circumstances, Department regulations dictate that the SLA receives a “priority”

(i.e., U.S. Army consultation with the Department) only when the U.S. Army

judges the SLA’s proposal to be within the “competitive range” of proposals. Id.

Plaintiff Mitchco, ODRS, and others, submitted proposals. The U.S. Army



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decided that ODRS’s proposal was not within the “competitive range” under

Federal Acquisition Regulation (“FAR”) 15.306, because ODRS’s past

performance was rated “Unacceptable” and its proposed price was “unreasonably

high” (and by far the most expensive proposal submitted). The U.S. Army

awarded the contract for the requirement to Mitchco.

       4.     During the past two years, ODRS and its would-be subcontractors

have instituted twenty-two procurement protests, preliminary injunction requests

and arbitration requests regarding this requirement, attempting to exploit

piecemeal legal action to try to prevent the U.S. Army from replacing ODRS with

a more competent, less expensive contractor, i.e., Mitchco. Every single one of

the procurement protests and preliminary injunction requests was denied or

dismissed, except for one ODRS request for reconsideration pending at the U.S.

Government Accountability Office (“GAO”).

       5.     Three of ODRS’s 22 legal actions were arbitration requests. When

there is a dispute between an SLA and a federal contracting agency in which the

SLA alleges a violation of the R-SA, the R-SA authorizes the Department, upon

complaint by an SLA, to convene an arbitration panel to arbitrate the dispute. 20

U.S.C. § 107d–1(b). ODRS instituted such a complaint to the Department,

triggering appointment of the Arbitration Panel and the arbitration decision that

is the subject of this action.



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      6.     The Department Arbitration Panel’s June 22, 2020 Decision (the

“Decision”) (Attached hereto as Exhibit 1) concluded that the U.S. Army

improperly denied ODRS a contract award (and the U.S. Army exercise of a

contract option), in violation of the R-SA. It recommended that the U.S. Army

permit ODRS to complete the option terms of its contract, include ODRS’s

proposal in the competitive range, and commence negotiations with it.

      7.     As discussed below, in numerous respects, the Panel’s Decision was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law” and otherwise violative of the APA, and therefore it must be “held unlawful”

and “set aside” under APA § 706(2). The Decision also was directly contrary to

this Honorable Court’s rulings on the exact same legal issues, when this Court

twice denied ODRS’s motions for preliminary injunctions.1 The arbitration panel

refused to be guided by this Court’s rulings on these pure issues of law, even

though the law provides for judicial review of the panel’s decision by this Court.2




1
 For instance, this Court ruled that options are optional, while the panel
ruled that options are mandatory.
2
 The Decision is a public document, but some of the prior proceedings were
under protective order. In order to facilitate the production of the
administrative record, Mitchco is filing a motion for protective order, for
those parts of the record that might require it.


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                         JURISDICTION AND VENUE

      8.     This Court has jurisdiction of the subject matter of this action

pursuant to 28 U.S.C. § 1331 (federal question jurisdiction with regard to the R-

SA); § 2201 (authorizing declaratory relief); § 2202 (authorizing injunctive

relief); and APA § 702 (providing for judicial review of agency action under the

APA).

      9.     Venue in this judicial district is proper under 28 U.S.C. § 1391(e)(1),

because a substantial part of the events or omissions giving rise to the claim

occurred in this District. Fort Sill is located within this judicial district, and the

subject of the arbitration was the award of a contract to be performed (and now

being performed) in this judicial district. The prior litigation here by ODRS

asserted venue on this basis.

                                     PARTIES

      10.    Plaintiff Mitchco is a corporation with offices at 4801 Sherburn

Lane, Suite A, Saint Matthews, Kentucky 40207. Mitchco is the contractor now

performing the requirement, and therefore an interested party for purposes of

judicial review. Mitchco intervened in the arbitration proceedings now subject

to judicial review.

      11.    Defendant U.S. Department of Education is an agency of the United

States established pursuant to the Department of Education Organization Act,



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Pub. L. No. 96-88, 93 Stat. 668 (Oct. 17, 1979). The R-SA gives the Secretary

of Education the responsibility of administering the Act and issuing interpretive

regulations.    See 20 U.S.C. § 107(b).       This responsibility includes, upon

complaint by an SLA like ODRS, the convening of an arbitration panel. 20

U.S.C. § 107d–1.

      12.      Defendant Honorable Betsy DeVos is Secretary of the Department

of Education. She is sued in her official capacity only.

                          FACTUAL BACKGROUND

      13.      In 2018, ODRS, Cantu Services, Inc. (“Cantu”) and Altstatt Services

LLC (“Altstatt”) were the “team” performing the requirement at issue here, until

they were replaced by awardee Mitchco. ODRS was the prime contractor; Cantu

served as a subcontractor; and Altstatt served as the “legally blind vendor” for

purposes of the R-SA.

      14.      In February of 2018, the U.S. Army informed ODRS that it did not

intend to exercise contract options under ODRS’s contract, after the option period

ending a year later, on March 31, 2019.3




      3
        This appears in the findings of the Oklahoma District Court in its
first decision denying the ODRS’s TRO application, State of Oklahoma v.
Mattis, No. 5:18-cv-01197-SLP (Dec. 17, 2018), slip op. at 2-3 (“Oklahoma
TRO Denial I”; the subsequent denial is “Oklahoma TRO Denial II.”)


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      15.    On April 19, 2018, ODRS filed the first of three R-SA arbitration

requests with the Department.

      16.    On June 6, 2018, the U.S. Army issued Request for Proposals

(“RFP”) No. W9124J-18-R-0011, for food services and dining facility attendant

services at Ft. Sill, Oklahoma. On July 12-16, 2018, ODRS, Cantu and Altstatt

filed the first four of what will eventually total fourteen proceedings at the GAO

[B-416577.1, .2, .3 and .4, and later B-416851.1, .2, .3, .4, .6, .7, .8, .9, .10 and

.11 (collectively, the “GAO Protests”)]. During these first four protests,4 the RFP

was canceled and later reissued, with minor changes not relevant to the Decision

or the S-LA.5 On August 14, 2018, the GAO protests themselves were dismissed.

      17.    As enumerated below, ODRS, Cantu and Altstatt subsequently filed

more GAO protests regarding this requirement.6 Ultimately, all 14 of them were

dismissed, except for the pending request for reconsideration (B-416851.11).




      4
         One of these appears to have been an amended protest. The GAO
dockets amended protests as protests. We will follow the GAO’s convention
in this brief.
      5
       The changes incorporated certain “commercial item” standard federal
contract clauses into the RFP. No changes were made relating to the R-SA.
      6
        As noted below, ODRS also filed one “agency-level” procurement
protest with the Contracting Officer, under 48 C.F.R. § 33.103, which was
denied.


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      18.    As noted, on August 31, 2018, the Government issued slightly-

revised Request for Proposals No. W9124J-18-R-0024. The evaluation scheme

stated that award would be made to the lowest-priced technically acceptable

(“LPTA”) proposal, allowing for the R-SA “priority” if (and only if) the R-SA

offeror’s proposal were in the competitive range. Proposals initially were due on

Sept. 21, 2018.

      19.    On September 20-21, 2018, ODRS and Cantu filed three more bid

protests at the GAO. On October 26, 2018, all three of these GAO protests were

dismissed.

      20.    On November 29, 2018, ODRS filed a second arbitration demand

with the Department. This new request reiterated the ODRS arguments made in

the dismissed GAO protests, alleging R-SA errors in the Solicitation. As this

Honorable Court would later note, the Department has no jurisdiction to rewrite

Solicitations issued by other agencies.

      21.    On December 11, 2018, ODRS filed a Complaint here in federal

district court in the Western District of Oklahoma, No. 5:18-cv-01197-SLP (the

“Oklahoma case,” mentioned above). ODRS sought a temporary restraining

order (“TRO”) against the competition.          The Complaint made arguments

essentially indistinguishable from the arguments that ODRS later would make in

the arbitration that is the subject of this action. In that litigation, ODRS sought a



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temporary restraining order not once but twice, and both applications were

denied. ODRS did not seek a writ of mandamus from the Court requiring the

Department to rule on its arbitration claims, a strategic decision by ODRS that

ultimately led to ODRS being replaced at Fort Sill before the Arbitration Panel

was even convened for a hearing.

      22.    On December 13, 2018, the Government filed its opposition to

ODRS’s TRO application. Among other things, the Government noted that

ODRS had misinterpreted the Federal Acquisition Regulation (“FAR”), which

requires a ceiling on indefinite-quantity, indefinite-delivery             (“IDIQ”)

requirements. ODRS had argued to the Court that such a ceiling was prohibited.

      23.    On December 17, 2018, the Oklahoma Court denied the TRO,

because ODRS “has not invoked a cognizable exercise of the Court’s equity

powers.” The Court quoted Klay v. United Healthgroup, Inc., 376 F.3d 1092,

1098 (11th Cir. 2004): “the plaintiffs had no cause of action against the

defendants upon which the injunction was based.” Id. (“Oklahoma TRO Denial

I”) at 3-4. The Oklahoma Court also denied the TRO because: “Rather than

seeking to maintain the status quo through a TRO or injunction until the Court

can reach the merits of the parties’ dispute, the ODRS would accomplish its

ultimate litigation objective if the Court ruled for it on its motion. This would not

be a proper use of the Court’s equitable powers . . . .” Id. at 4-5. The Court



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meticulously reviewed ODRS’s arguments on the merits, and ruled them all

baseless.

      24.   On December 18, 2018, one day after the Court denied a TRO,

ODRS filed a grossly repetitive agency-level bid protest under 48 C.F.R.

(“FAR”) § 33.103. Nowhere in that very lengthy agency-level protest did ODRS

explain why the agency could, would, or should disagree with the GAO’s or the

Court’s rulings. In fact, ODRS did not even mention the Court ruling.

      25.   On December 19, 2018, the proposal due date, multiple proposals

were submitted. Mitchco’s proposed price was approximately $94 million. The

Independent Government Cost Estimate (“IGCE”) was $95.4 million. ODRS’s

proposed price was $145.6 million, which was 54% higher than the IGCE.

Decision at 14.

      26.   On January 23, 2019, ODRS’s agency-level protest was denied.

      27.   On March 14, 2019, after examining and evaluating all seven

proposals, the Government decided that ODRS’s proposal was not within the

“competitive range” under FAR 15.306, both because ODRS’s past performance

was “Unacceptable,” and because its proposed price is “unreasonably high.”

Decision at 15.7 ODRS’s proposal was the only one where past performance was


7
  The competitive range is “comprised of all of the most highly rated
proposals.” FAR 15.306(c).


                                     10
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rated “Unacceptable,” and its proposed price was the most expensive by far.

Only the proposals of Mitchco and one other offeror were rated as Acceptable on

both the Past Performance and the Technical evaluations, and also Reasonably

Priced (Decision at 95), so they were literally “the most highly rated proposals,”

id., and they properly comprised the competitive range. The Government then

proceeded to negotiations with the two offerors in the competitive range

(including Mitchco), in accordance with FAR 15.306(d).

      28.    On March 22, 2019, ODRS filed a third arbitration demand with the

Department, complaining that its proposal should have been included in the

competitive range.

      29.    On March 25, 2019, ODRS again sought a TRO from the federal

court in Oklahoma, based on the same arguments that it made in its third

arbitration demand to the Department.

      30.    In the time frame of March 26, 2019 - Apr. 1, 2019, with ODRS’s

latest TRO application pending and unresolved, the Government had no choice

but to award ODRS a “bridge” contract, initially for two months, without

competition, for ODRS to continue performance of the requirement (Delivery

Order No. W9124L-19-D-0001).

      31.    On April 12, 2019, in a “mandate letter,” the Department authorized

the formation of the Arbitration Panel, based on ODRS’s three arbitration



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demands. Despite having a case pending in federal court, ODRS did not pursue

any legal action that would require the Department to proceed expeditiously,

presumably because it had extracted the bridge contract from the Government.

This was, in effect, an election of remedies by ODRS.

      32.   On April 16, 2019, for a second time, the U.S. District Court in

Oklahoma denied ODRS a TRO. The Court again reviewed ODRS’s arguments

on the merits, and again ruled them all baseless. The Government then awarded

a contract to Mitchco for $94,250,932, Contract No. W9124J-19-D-0012,

beginning with delivery order W9124J-19-D-0010 to “phase in” performance.

      33.   On April 26, 2019, ODRS filed yet another GAO protest. On May

9, 2019, this ODRS GAO protest was dismissed.

      34.   On May 23, June 7 and June 14, 2019, ODRS filed three more GAO

protests. Apparently due to the pendency of these three GAO protests, the

Government extended ODRS’s performance of the bridge contract. On July 3,

2019, these three ODRS GAO protests were dismissed.

      35.   On July 16, 2019, ODRS filed a complaint at the U.S. Court of

Federal Claims (“CFC”), raising many of the same issues that ODRS had raised




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unsuccessfully in this Honorable Court.8 Cantu and Altstatt intervened. On

August 12, 2019, the CFC denied ODRS’s motion for preliminary injunction,

after which ODRS stipulated to a dismissal with prejudice.

      36.    On Sept. 30, 2019, ODRS’s “bridge” contract at Ft. Sill expired.

Mitchco took over performance of the requirement at Ft. Sill and, notably, ODRS

took no action in court to require that the arbitration hearing take place before

that happened.

      37.    The Department’s mandate letter to the Arbitration Panel limited the

issues before the Panel to the following four:

      Arbitration Count No. 1 – whether the U.S. Army violated the R-SA by
      not exercising its third option under the incumbent contract.

      Arbitration Count No. 4 – whether the U.S. Army violated the R-SA by
      using meal bands in the Solicitation.

      Arbitration Count No. 5 – whether the U.S. Army violated the R-SA when
      it allegedly “failed to follow the stated evaluation criteria in evaluating
      [ODRS’s] proposal.”

      Arbitration Count No. 6 – whether the U.S. Army violated the R-SA when
      it allegedly “failed to properly determine whether [ODRS’s] proposal
      could provide [cafeteria food] services at a reasonable cost.”

Mandate Letter at 1-2.




8
 ODRS argued that this Court’s rulings were of no significance, because
they were made upon motions for a preliminary injunction, rather than on
motions for a permanent injunction.


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        38.    On January 14-16, 2020, the arbitration hearing was conducted. The

parties then submitted post-hearing briefs and Reply Briefs, and the record was

closed on May 10, 2020.

        39.    On June 22, 2020, the Department’s Arbitration Panel issued its

Decision. For the reasons explained below, the Decision in numerous respects is

arbitrary, capricious, an abuse of discretion, not in accordance with law, or

otherwise in violation of the APA.9

                 COUNT ONE: VIOLATIONS OF THE APA

                 A. The Arbitration Panel Exceeded Its Jurisdiction.

        40.    As explained above, this arbitration arises under the R-SA, and it is

restricted to whether the challenged actions of the U.S. Army violate the R-SA.

Therefore, the first threshold question is whether the four allegations in the

Mandate Letter – regardless of the evidence – can establish any violation of the

R-SA.

        41.    On this question, the applicability of the R-SA to cafeteria food

services contracts is limited and specific. The R-SA creates a “priority” for

“blind persons licensed by a State agency” regarding the “operation of vending

facilities”:


9
 As noted, there were yet more ODRS GAO protests, which all were
dismissed, aside from the pending ODRS motion for reconsideration.


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         In authorizing the operation of vending facilities on Federal property,
         priority shall be given to blind persons licensed by a State agency as
         provided in this chapter . . . to the extent that any such facility or facilities
         would not adversely affect the interests of the United States.

20 U.S.C. § 107.

         42.    As noted above, the R-SA and the associated Department

Regulations establish an arbitration mechanism only when a SLA [like ODRS,

here] claims that a federal agency is: “failing to comply with the provisions of

this chapter [meaning the R-SA] or any regulations issued thereunder.” 20 U.S.C.

107d-1(b) (emphasis added). Therefore, Step One of any arbitration under the

R-SA is for the claimant to identify the specific R-SA or R-SA regulation

provision with which the agency purportedly has failed to comply. The Mandate

Letter went beyond this narrow jurisdictional scope, and therefore was ultra

vires.

         43.    Regarding the “priority” for blind persons licensed by a state

agency in the award of cafeteria contracts under the R-SA, the R-SA regulations

set forth that “priority,” in its entirety, as follows:

         (a) Priority in the operation of cafeterias by blind vendors on Federal
         property shall be afforded when the Secretary determines, on an
         individual basis, and after consultation with the appropriate property
         managing department, agency, or instrumentality, that such operation can
         be provided at a reasonable cost, with food of a high quality comparable
         to that currently provided employees, whether by contract or otherwise.
         Such operation shall be expected to provide maximum employment
         opportunities to blind vendors to the greatest extent possible.



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      (b) In order to establish the ability of blind vendors to operate
      a cafeteria in such a manner as to provide food service at comparable cost
      and of comparable high quality as that available from other providers
      of cafeteria services, the appropriate State licensing agency shall be
      invited to respond to solicitations for offers when a cafeteria contract is
      contemplated by the appropriate property managing department, agency,
      or instrumentality. Such solicitations for offers shall establish criteria
      under which all responses will be judged. Such criteria may include
      sanitation practices, personnel, staffing, menu pricing and portion sizes,
      menu variety, budget and accounting practices. If the proposal received
      from the State licensing agency is judged to be within a competitive
      range and has been ranked among those proposals which have a
      reasonable chance of being selected for final award, the property
      managing department, agency, or instrumentality shall consult with
      the Secretary as required under paragraph (a) of this section. If the State
      licensing agency is dissatisfied with an action taken relative to its
      proposal, it may file a complaint with the Secretary under the provisions
      of § 395.37. . . .

34 C.F.R. § 395.33 (emphasis added). These are the only parts of the R-SA

Regulations that govern SLA priority in the award and performance of cafeteria

contracts.

      44.    Therefore, as to Arbitration Count No. 1, for instance, i.e., whether

the U.S. Army violated the R-SA or its implementing regulations when it

decided not to exercise the remaining options under ODRS’s Ft. Sill contract,

there is no part of the R-SA or the Regulations governing the exercise of

contract options, there is no such provision with which an agency must

“comply” [20 U.S.C. § 107d-1(b)], and therefore the Arbitration Panel had no

jurisdiction of such a claim.




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         45.   As to Arbitration Count No. 5, regarding the U.S. Army’s

evaluation of ODRS’s proposal: (A) ODRS was invited to respond to the

solicitation, and did so respond; and (B) ODRS’s proposal was “judged” to be

outside the competitive range. Therefore, the U.S. Army was under no

obligation to “consult with the Secretary” (and the Army therefore did not do

so).10

         46.   Despite the above jurisdictional limits on the arbitration panel’s

authority, the Decision ruled as follows:

         The Army argues that it did not terminate the ODRS contract; it just did
         not renew it under its discretionary right in the contract. The Army’s
         action, however, limited future operations for a blind vendor who had
         already demonstrated the feasibility and right to provide services at Fort
         Sill for five years. Regardless of the choice of words, its action brought
         to a halt, ended, stopped, terminated an already demonstrated right to a
         priority. It was a limitation. The issue is not whether the Army had the
         right to limit its operation of its cafeteria to an already qualified blind
         vendor, but whether it was required under the RSA to seek approval of
         the Secretary of the DOE before doing so. The Statute is clear that it was
         required to do so.

Decision at 53-54. The Decision therefore was “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law,” or otherwise in



10
   If ODRS’s proposal had been within the competitive range, then the
Regulations would have imposed a duty on the Army to consult with the
Secretary, but the Army “judged” that ODRS’s proposal was outside the
competitive range, and the Mandate Letter itself recognized that this
extinguished any consultation requirement. Mandate Letter at 2.


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violation of the APA, and it therefore must be “held unlawful” and “set aside.”

APA § 706(2).

             B. ODRS’s Prior Litigation Barred its Arbitration Claims

      47.    As noted above, before the arbitration hearing even began, ODRS

filed 11 GAO protests, one agency-level protest and three applications for

temporary restraining orders and motions for preliminary injunctions (in two

different federal courts), over two years of litigation. In those legal

proceedings, ODRS made the same legal arguments about the same

procurement that they made in the arbitration. The relevant tribunals

categorically rejected these legal arguments.

      48.    One of many examples is this Honorable Court’s ruling on Dec.

17, 2018, denying ODRS’s first TRO application and establishing the law of the

case, with preclusive effect. See Commissioner v. Sunnen, 333 U.S. 591, 597

(1948). This Court ruled as follows:

      The ODRS identifies four merits-based issues on which it claims it will
      prevail. [Arbitration Count No. 1:] It first argues that the Army should
      not have declined the third option year on their existing contract because
      doing so imposed a “limitation” as described in 20 U.S.C. § 107(b). The
      Court finds no support in § 107(b) for its potential applicability to a
      decision of whether a contract option must be accepted. Section 107(b)’s
      requirement that the DOE justify “[a]ny limitation” applies to “the
      placement or operation of a vending facility.” Id. Here, the Army’s
      decision to decline the third option year of the contract does not “limit[]”
      the “placement or operation” of its facilities. Id. Rather, it opens the
      possibility of the opposite occurring—the Army seeks to include



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      additional food service locations at Fort Sill within the new contract
      which are not included in the current ODRS contract.

      During the TRO hearing, the ODRS asked the Court to consider Magic
      Brite Janitorial v. United States, 72 Fed. Cl. 719 (2006), in which the
      Court of Federal Claims observed that “one supposes that the
      government, in obtaining an option, could cabin its discretion and make
      the exercise of an option less optional, via statute, regulation, or the terms
      of a contract.” Id. at 721. That statement may be correct but, even if so, it
      is inapplicable here. Nothing in § 107(b) indicates it is meant to apply to
      contract option determinations and to “cabin [the Army’s] discretion.”
      Magic Brite Janitorial, 72 Fed. Cl. at 721. Absent contractual language
      providing otherwise (which has not been provided by the ODRS), the
      general rule for an option seems to apply: “the holder of an option has
      discretion to exercise the option or not” and “the mere existence of an
      option does not require the holder to exercise it.” Id.

      [Arbitration Count Nos. 2 & 7:]11 Second, the ODRS indicates it will
      prevail because the Army is required to consult with the DOE before
      eliminating the ODRS (or any state licensing agency) from contention for
      a new contract. The ODRS bases its argument in 34 C.F.R. § 395.33(a).
      But part (b) of that regulation indicates that a DOE consultation is only
      required after proposals have been received and initially reviewed, with
      those falling outside the relevant competitive range having been rejected:
      “If the proposal received from the State licensing agency is judged to be
      within a competitive range and has been ranked among those proposals
      which have a reasonable chance of being selected for a final award, the
      [Army] shall consult with the [DOE] as required under paragraph (a) of
      this section.” 34 C.F.R. 395.33(b) (emphasis added). The ODRS’s
      proposed order of actions makes no sense in light of the conditional
      language used in the regulation that requires consultation only after an
      initial judgment by the Army. See Ga. Vocational Rehab. Agency, 2018
      WL 6503512, at *6 (“[T]he Government was only required to consult
      with the [DOE] after a determination that the bid was ‘judged to be


11
  In the Mandate Letter, the Department accepted only Arbitration Counts 1,
4, 5 and 6 for arbitration. This did not prevent ODRS from arguing the
other, ultra vires counts to the Court.


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within a competitive range.’” (quoting 34 C.F.R. § 395.33(b))); see also
id. (collecting cases).

[Arbitration Count Nos. 3 & 4:] Finally, the ODRS argues that certain
aspects of the new procurement process applicable to all bidders—
specifically, (i) a $111 million “price ceiling” for the entirety of the new
contract and (ii) the use of “meal bands” in forecasting the number of
meals to be served on various days during the term of the new contract—
violate the RSA. The ODRS tries to tie these general contract
procurement terms to the RSA through a regulation indicating that RSA
priority is given when the facility’s “operation can be provided at a
reasonable cost, with food of a high quality comparable to that currently
provided.” 34 C.F.R. § 395.33(a); see also 20 U.S.C. § 107d-3(e)
(requiring that the DOE issue regulations implementing the RSA for
those facilities where operations “can be provided at a reasonable cost
with food of a high quality comparable to that currently provided”).

The Court is not convinced that this regulation can be tied to the Army’s
procurement process in the way proposed by the ODRS. The ODRS
wants to use the “reasonable cost” requirement to impose a floor on the
price at which services are provided to the Army. But a common-sense
reading of the regulation is that the “reasonable cost” requirement instead
imposes a price ceiling. That is, the regulation indicates that if the price
proposed by the ODRS (or another state licensing agency) is above a
reasonable cost or the food to be provided is not of a high-enough
quality, the ODRS (or other state licensing agency) need not be chosen
by the contract-awarding agency regardless of the preference otherwise
provided by the RSA. The regulation protects the United States from
contracts which harm it through unreasonably high prices or
unreasonably poor quality of products and services. Nothing in the
implementing regulation or in the RSA indicates that “reasonable cost” is
intended to prohibit the ODRS (or other state licensing agency) from
submitting a relatively low bid which does not provide as much profit to
a blind vendor as a bid for a higher amount would provide.

Legitimate complaints may exist regarding the $111 million cap
indicated for the to-be-awarded contract and the use of meal bands in
seeking submissions as part of the procurement process. But these are not
RSA issues, and the Court’s consideration of these issues is limited to
whether success is likely in light of the RSA alone.


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      For these reasons, the Court finds that the ODRS has not shown a
      substantial likelihood of prevailing on the merits and a TRO should not
      be issued. IT IS THEREFORE ORDERED that Plaintiff’s Application
      for Temporary Restraining Order and Injunctive Relief [Doc. No. 2] is
      DENIED as set forth herein.


Oklahoma TRO Denial I at 7-10. This Honorable Court therefore decided these

Arbitration Counts against ODRS, as a matter of law, in its first decision

denying ODRS a TRO.12 Yet ODRS sought new rulings on the exact same

issues in the arbitration.

      49.    After the U.S. District Court ruling cited above, ODRS’s proposal

was found to be outside the competitive range. ODRS then returned to this

Court and re-argued its case, trying to treat this development as “news.” On

April 16, 2019, this Honorable Court issued a second decision (“Oklahoma

TRO Denial II”). As the U.S. Court of Federal Claims would later observe, this

Honorable Court pointedly noted that ODRS was simply repeating itself in most

respects:

      The district court determined that many of the arguments in ODRS’ first
      amended complaint were identical to those in its original complaint, and


      12
        The only reason why this Court didn’t reject Arbitration Count Nos.
5 & 6, as well as Arbitration Counts 1-4 & 7, is that ODRS hadn’t raised
them yet. This Court rendered its first TRO denial on Dec. 17, 2018, and
ODRS raised Arbitration Count Nos. 5 & 6 by letter to the Department on
March 22, 2019.


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      thus the district court declined to ‘re-address[]’ these arguments, as the
      ‘[c]ourt’s ruling regarding them remains the same.’

State of Okla. v. United States, No. 19-1022C, slip op. at 6 (Fed. Cl. Aug. 12,

2019).

      50.    As to ODRS’s then-new arguments, this Honorable Court, once

again, emphatically rejected these arguments as a matter of law:

      [Arbitration Count No. 5:] First, the ODRS argues that a TRO should
      issue because the Army improperly excluded the ODRS from the
      competitive range established in the bid process for the new contract. The
      ODRS asserts that it was excluded from the competitive range because
      “Defendants fail[ed] to follow the stated evaluation criteria.” Mot. 8,
      Doc. No. 14. But the ODRS provides no explanation of what the Army’s
      to-be-followed evaluation criteria were, which of them were not
      followed, or how. Rather, the ODRS only indicates that it was rated
      “acceptable” on one criterion, “unacceptable” on another criterion, and
      was not rated on a third criterion (though the last criterion—price—if
      rated, would not likely assist the ODRS in the Army’s evaluation because
      the ODRS was simultaneously informed that its bid included an
      “unreasonably high price” which was “not competitive”). Letter from
      Gary L. Stevens to Charles Pride (Mar. 14, 2019), Doc. No. 14-7. Absent
      some indication from the ODRS regarding why and how the Army
      allegedly did not follow its own evaluation criteria in the bid process, the
      Court cannot find that the ODRS has made a “strong showing . . . with
      regard to the likelihood of success on the merits” (Fish, 840 F.3d at 724
      (quotation marks and citation omitted)) or even “a substantial likelihood
      of success on the merits.” Dominion Video Satellite, 269 F.3d at 1154.
      The ODRS’s attempted explanation (submitted without a supporting
      affidavit on this issue (see Mot. 17, Doc. No. 14)) and the testimony
      provided at the TRO hearing were both conclusory and the Court does
      not find them sufficient for the ODRS to meet its burden to obtain a
      TRO. Although one of the ODRS’s witnesses indicated that the
      inspections performed by the Army during the ODRS’s performance of
      the current contract were, in his experience, more rigorous than what he
      experienced regarding other government contracts, no indication that



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such rigorous inspections were not allowed under the law and under the
parties’ contract has been presented.

[Arbitration Count Nos. 2 & 7:] Second, the ODRS indicates that it
will succeed on the merits because the Army was required, and failed, to
consult with the DOE before excluding the ODRS from the competitive
range in the bid process for the new contract. For the reasons stated in the
Court’s prior TRO order, the Court disagrees. See Order of Dec. 17,
2018, at 8-9, Doc. No. 10. Moreover, as the Army persuasively argued at
the recent TRO hearing, under the ODRS’s preferred order of
consultation with the DOE—i.e., that consultation with the DOE is
required before any state-licensing-agency applicant can be excluded
from the competitive range—the ODRS could bid any amount (e.g., $10
trillion on a contract estimated to include services totaling no more than
$10,000) and the Army would be unable to exclude the uber-high bid
without engaging in the consultation process. In addition to this being an
untenable result, the ODRS provides no authority that this process was
intended by the Randolph-Sheppard Vending Facility Act of 1936, 20
U.S.C. §§ 107-107f (“RSA”). See Ga. Vocational Rehab. Agency Bus.
Enter. Program v. United States, No. 4:18cv148, 2018 WL 6503512, at
*6 (E.D. Va. Dec. 11, 2018) (“[T]he Government was only required to
consult with the [DOE] after a determination that the bid was ‘judged to
be within a competitive range.’” (quoting 34 C.F.R. § 395.33(b))).

[Arbitration Count No. 6:] The ODRS’s argument that the Army’s
decision to exclude it from the competitive range is a “limitation on the
placement or operation of a vending facility” that requires consultation
with the DOE is not persuasive. 20 U.S.C. § 107(b)(2). By re-bidding
food service at Ft. Sill, the Army is not “limit[ing] . . . operation of a
vending facility.” Id. In fact, by expanding the scope of the contract
awarded (as compared to the current contract), it is doing the opposite.
And, because the bid process is being undertaken pursuant to the RSA—
even if the final award is not to an RSA vendor—no limitation on which
vending facilities are subject to the RSA during the bidding process has
occurred. Were the Army attempting to abandon the applicability of the
RSA to the bidding process and complete the bid process without
complying with the RSA (for example, by proceeding through a
bid process under the Javits-Wagner-O’Day Act, 41 U.S.C. §§ 8501-
8506, instead of pursuant to the RSA—as in a recent Eastern District of
Virginia decision), the ODRS’s argument might be persuasive. See


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      SourceAmerica, 2019 WL 1233855, at *12 (cited by the ODRS in its
      TRO motion). There is no indication that is the case here.

Oklahoma TRO Denial II at 9-12. The Court later dismissed the case.

      51.    In the same repetitive manner, before the arbitration panel even

convened for its hearing, ODRS already had made the same erroneous legal

arguments in (by that time) 11 dismissed GAO protests, and in the one denied

agency-level protest. ODRS, Cantu and Altstatt then forum-shopped their

claims to the U.S. Court of Federal Claims on July 16, 2019, filing three

separate complaints – all of which neglected to inform the Court of Federal

Claims that ODRS, Cantu and Altstatt already had been denied – ad nauseum -

the same relief that they were requesting from the CFC. State of Okla. v.

United States, No. 19-1022C (Fed. Cl. Aug. 12, 2019).13

      52.    The CFC endorsed this Court’s earlier rejection of ODRS’s

arguments on the merits, in both Oklahoma TRO Denial I and II. With regard

to the first decision, the CFC ruled:

      The district court also found that “ODRS cannot show a substantial
      likelihood of success on the merits” of its claim. District Ct. Order at 7.
      First, the court found ODRS’ argument about the language of 20 U.S.C. §
      107(b) to be unpersuasive. Rather than agreeing with ODRS that the
      Army’s declining the third-year option imposed a “limitation” prohibited
      by 20 U.S.C. § 107(b), the court found “the general rule for an option
      seems to apply.” Id. at 8. In that respect, an option contract allows the

13
  “In its original complaint [to the Court of Federal Claims, ODRS] raised
claims under the Randolph-Sheppard Act.” Id. at 4.


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       holder of the option discretion whether to exercise that option.
       [Arbitration Count No. 1] Second, the court disagreed with ODRS’
       argument, based on 34 C.F.R. § 395.33(a), that the Army was required to
       consult with the Education Department before acting adversely to ODRS.
       Id. at 8-9 (“ODRS’[] proposed order of actions makes no sense in light of
       the conditional language used by the regulation that requires consultation
       only after an initial judgment by the Army.”) [Arbitration Count Nos. 2
       & 7]

Id. at 5. The CFC also endorsed the district court’s second decision:

       First, “ODRS argue[d] that a TRO should [be] issue[d] because the Army
       improperly excluded ODRS from the competitive range established in the
       bid process for the new contract.” District Ct. Apr. Order at 9. But the
       district court found that ODRS’ “attempted explanation . . . and
       []testimony” in support of its argument “were both conclusory and [not]
       sufficient for [] ODRS to meet its burden to obtain a TRO.” Id. at 10.
       [Arbitration Count Nos. 5 & 6] Second, ODRS argued “that it [would]
       succeed on the merits because the Army was required, and failed, to
       consult with the [Education Department] before excluding ODRS from
       the competitive range in the bid process.” Id. at 10-11. The district court
       was similarly unpersuaded by this argument, as “ODRS provides no
       authority that this process was intended by the [RSA],” among other
       reasons. Id. at 11-12. [Arbitration Count Nos. 2 & 7]

Id. at 6.

       53.   The CFC concluded:

       The district court twice found ODRS’ arguments in favor of temporary
       injunctive relief to be unpersuasive. . . . Here, as in the district court,
       ODRS has not shown a substantial likelihood of prevailing on the merits.




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Id. at 14. The CFC denied a restraining order and an injunction, id., and the

CFC case was later dismissed with prejudice.14

      54.    A fortiori, ODRS’s arguments to the Arbitration Panel were barred

by res judicata and related preclusive doctrines – because they already have

been rejected in the numerous prior proceedings, “not only as to every matter

which was offered and received to sustain or defeat the claim or demand, but as

to any other admissible matter which might have been offered for that purpose"

– and those matters must now be taken as resolved against ODRS, long before

the arbitration panel’s Decision. Sunnen, 333 U.S. at 597.

      55.    Despite the prior decisions on issues of law enumerated above, the

Arbitration Panel ruled that ODRS’s claims were not barred by res judicata,

collateral estoppel or other preclusion doctrines. Decision at 45-48. The

Decision therefore was “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” otherwise violated the APA, and

therefore must be “held unlawful” and “set aside.” APA § 706(2).

                   C. Failure to Comply with Department Rules.

      56.    The Department has promulgated rules regarding R-SA arbitration

proceedings. Policies and Procedures for Convening and Conducting an



 The Decision does not address the legal effect of dismissal of the CFC case
14


with prejudice.


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Arbitration Pursuant to Sections 5(b) and 6 of the Randolph-Sheppard Act as

Amended (the “Arbitration Rules”), Rule 3(b) states:

      The [arbitration] complaint may be filed by the State Attorney General
      on behalf of the State licensing agency, or by the State licensing agency
      with the written concurrence of the State governor.15

It is undisputed that the “arbitration complaints” filed by ODRS were not filed

by the Oklahoma State Attorney General, and they were not filed with the

written concurrence of the State governor. ODRS thus proceeded ultra vires, in

violation of APA §§ 706(2)(b) & (d).16

      57.    Citing Department interpretation of Rule 3, the Decision ruled that

a state may appoint a private attorney to represent it. See Ex. 1 at 46-47. The

Department erroneously interpreted Rule 3 (because there is no basis in the

Rule 3 for its interpretation), and the Decision therefore was “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law,” it




      15
         The Federal Government, and generally the States as well, have
rules restricting agencies from litigating without such approval. See, e.g., 28
U.S.C. § 516 (2012); 28 C.F.R. § 0.5.
      16
        This is an issue of the arbitration panel’s subject-matter jurisdiction.
Because of its fundamental importance, subject-matter jurisdiction may be
challenged at any time by the parties, or even by the tribunal sua sponte.
Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004). In any event,
Mitchco raised the issue with the arbitration panel.


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otherwise violated the APA, and therefore it must be “held unlawful” and “set

aside.” APA § 706(2).

                      D. Violation of APA § 556 and the
      Due Process Clause of the Fifth Amendment, U.S. Const. amend. V

      58.   Arbitration Rule 6(a) states:

      Within 15 days from the date of the notice informing the parties that an
      arbitration panel will be convened, each party shall designate one panel
      member and promptly notify the arbitration clerk of the designation . . . .
      Within 30 days from the date of this notice, the two panel members . . .
      shall designate [] the third member of the panel . . . .

Id.; see also 20 U.S.C. § 107d-2(b)(1).

      59.   The selection of two panel members by the parties, and then the

third by those two, does not promote “the appearance and reality of fairness”

from the perspective of an intervenor who chose no one on the panel. Marshall

v. Jerrico, 446 U.S. 238, 242 (1980); Schweiker v. McClure, 456 U.S. 188, 195

(1982). “The functions of presiding employees . . . shall be conducted in an

impartial manner.” 5 U.S.C. § 556(b). Every hearing officer, of every kind,

must comply with this provision. See, e.g., Coyle v. Gardner, 298 F. Supp. 609

(D. Hawaii 1969). Intervenors, who have well-established due process rights

under both the Fifth Amendment and the APA, have no one on the panel whom

they chose, or can otherwise influence through the selection process. The

background and selection process for panel members also evidences unfairness

to an intervenor. This procedure, and the selection of the panel members who


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conducted the arbitration here, violated APA § 556 and the Due Process Clause

of the Fifth Amendment, U.S. Const. amend. V, because it does not create a

panel of impartial arbiters, both facially and as applied, as Mitchco’s counsel

complained by declaration to the arbitration panel.

      60.    The Decision stated that there was “no evidence” of any such

violation. That clearly was incorrect; the only evidence in the record on this

subject was Mitchco counsel’s declaration. The Decision therefore was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law,” it otherwise violated the APA, and therefore it must be “held

unlawful” and “set aside.” APA § 706(2).

                         E. Timeliness, Waiver and Laches

      61.    Every tribunal hearing a procurement protest of one kind or another

has timeliness rules. See, e.g., 4 C.F.R. § 21.2 (GAO timeliness rules); Blue &

Gold Fleet, L.P. v. United States, 492 F.3d 1308, 1313 (Fed. Cir. 2007) (“[A]

party who has the opportunity to object to the terms of a government solicitation

containing a patent error and fails to do so prior to the close of the bidding process

waives its ability to raise the same objection subsequently in a bid protest action

in the Court of Federal Claims”). In addition, every procurement tribunal applies

equitable doctrines, such as equitable estoppel and laches – as the Department

itself has recognized in R-SA proceedings. E.g., id. at 1314-15 (laches, equitable



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estoppel); State of Texas v. U.S. Air Force, R-S/16-09 (Feb. 28, 2017) (“the

proper procedure for the offeror to follow is not to wait to see if it is the successful

offeror before deciding whether to challenge the procurement”).

       62.    ODRS let years pass and allowed the status quo to change as it

engaged in multiple litigations in federal court, without ever seeking to expedite

the arbitration (through, for example, a petition for a writ of mandamus). ODRS

violated all of these legal and equitable doctrine on timeliness, preserving the

status quo, and fairness to opposing parties. Due to ODRS’s failure to take action

to expedite the arbitration, Mitchco entered into a binding contract with the U.S.

Army, establishing Constitutionally protected property rights, long before the

arbitration panel rendered its Decision.

       63.    The Decision wrongly ignored the principle underlying all of these

legal or equitable doctrines, and wrongly ruled that ODRS had violated none of

them. The Decision therefore was “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law” and otherwise in violation of the APA,

and it therefore must be “held unlawful” and “set aside.” APA § 706(2).

                                   F. Interested Party

       64.    In any challenge to an agency procurement action, the challenger

must be an "interested party," which generally means that the challenger must be

next in line for award 28 U.S.C. § 1491(b)(1). There were seven offerors in the



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U.S. Army competition. The competition established that Mitchco was the

lowest-priced, technically acceptable offeror. ODRS was not next in line for

award, or even close.     ODRS hence is not an “interested party” in these

proceedings.17   This makes the exercise of addressing ODRS’s claims an

academic one, and the litigation of such claims before the Arbitration Panel

pointless. Nothing in the R-SA allows the arbitration panel to direct the Army to

“jump over” not only Mitchco but also five other offerors in order to deliver this

requirement to ODRS.

      65.    The Decision does not dispute that ODRS is not an “interested

party,” or address the principles underlying the general requirement of interested

party status, and yet it permitted the arbitration to proceed to the Decision.

Decision at 48. The Decision therefore was “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law” and otherwise violative of

the APA, and therefore it must be “held unlawful” and “set aside.” APA § 706(2).

                         G. Sham Contract/Unclean Hands

      66.    The R-SA states that it is:

      For the purposes of providing blind persons with remunerative
      employment, enlarging the economic opportunities of the blind, and


      17
         ODRS itself has recognized, by its actions, that it is not an
“interested party.” For this reason, ODRS filed a GAO protest against the
offeror who was next in line for award, and that protest was dismissed.


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      stimulating the blind to greater efforts in striving to make themselves
      self-supporting . . . .

20 U.S.C. 107(a).

      67.    Mitchco offered evidence, without dispute, that ODRS had

employed no blind persons in the Fort Sill cafeterias, and that the blind vendor

whom ODRS had used to qualify as an SLA had a “no show” job, with no role

in management or operations. ODRS thus is feigning compliance with the R-

SA. ODRA has “unclean hands” and its claims therefore were not lawfully

entertained and decided by the Arbitration Panel. E.g., Olmstead v. United

States, 277 US 438, 483-84 (1928).

      68.    Instead of dismissing the arbitration proceeding under the “Clean

Hands” doctrine, the Arbitration Panel permitted the proceeding to continue to

the Decision. The Decision therefore was “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law” and otherwise in violation

of the APA, and therefore it must be “held unlawful” and “set aside.” APA §

706(2).

                            H. Arbitration Count No. 1

      69.    As to the four counts set forth in the Mandate Letter and therefore

the subjects of the Decision, Arbitration Count No. 1 challenged the U.S.

Army’s decision not to exercise option periods under the expired contract. As

addressed above, the R-SA and the Regulations do not regulate option exercise,


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so as a matter of law, ODRS cannot establish that the Army’s decision against

exercising options on ODRS’s contract was “failing to comply with the

provisions” of the R-SA and the Regulations. 20 U.S.C. § 107d-1(b). This

Honorable Court so ruled. Even if the R-SA extended to the exercise of

options, the U.S. Army’s decision not to exercise ODRS options was neither

arbitrary nor capricious.

      70.    The Decision nevertheless concluded that “the non-exercise of the

option period by the Army under the specific facts of this case without first

securing the opinion of DOE’s Secretary that the non-exercise was warranted

was a violation of the RSA.” Decision at 57. The Decision therefore was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law” and otherwise violative of the APA, and it therefore must be “held

unlawful” and “set aside.” APA § 706(2).

                            I. Arbitration Count No. 4

      71.    In Arbitration Count No. 4, the “meal bands” Count, ODRS argued

that “the use of meal bands to order full food services degrades the Act’s

priority right of the SLA.” Mandate Letter at 1. In essence, ODRS argues that

the Army manipulated the meal band system in order to cheat ODRS: “the

Army basically camouflaged the number of meals required to be served” (a

very strange argument for ODRS to make, given the fact that it was the



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incumbent contractor and knew exactly how many meals had been served,

every day, for years).18

      73.    As noted above, the “priority right of the SLA” (requiring

consultation between the Secretary and the contracting activity) applies only

when an agency judges that the SLA’s proposal is within the competitive range.

When a competitive range is established, an agency is required to conduct

“discussions” only with offerors in the competitive range. There is no evidence

in the Decision, or the hearing record, of any notable connection between meal

bands in the RFP and the U.S. Army’s subsequent competitive range




18
  ODRS’s “meal band” argument, which this Court already has addressed
and rejected, is so convoluted that it is difficult even to explain, but it is
essentially as follows. Under this requirement, the contractor provides
cafeteria labor; the U.S. Army pays separately for the food itself. Therefore,
the U.S. Army decided to structure the pricing of this requirement not on the
basis of how many individual meals are served, but rather on the basis of
how many serving lines the contractor needs to staff. The RFP reflected this
on the basis of “meal bands”; for instance, 0-1200 meals would require one
serving line, and therefore be priced at a certain amount, while 1201-2400
meals would require two serving lines, and therefore be priced higher.
ODRS, forced to explain why its proposal was so enormously more
expensive (and thus excluded from the competitive range), seeks to blame
the meal bands. But the meal bands structure applied equally to all offerors,
including Mitchco. There is no disparate impact on ODRS. Also, neither
ODRS nor the Department has any authority to question the Army’s decision
in this regard; it simply isn’t an R-SA issue. ODRS’s “camouflage”
argument is even more convoluted than this, but the same principles apply.
If the U.S. Army had “camouflaged” anything, it would have had no greater
impact on ODRS than on any other offeror.


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determination. In addition, ODRS’s “meal band” excuse for its exorbitant price

evaporates when one realizes (as the Decision reflects) that ODRS’s proposed

price was completely out of line as to every other offeror, even though the meal

band pricing applied equally to everyone. Not surprisingly, in ODRS’s serial

prior legal actions, the same argument was made and rejected on seven

occasions, including by this Honorable Court.

      74.    The Decision nevertheless found that “the Army chose not to

clarify any confusion as to how many meals would actually be served and

because ODRS was not placed in the competitive range, did not conduct

meaningful discussions about pricing with it.” Decision at 65. The Decision

concluded that “ODRS’s bid could have been lowered had the Army and both

agreed to be contractually bound to provide three-day notice of meal counts and

properly conducted meaningful discussions with ODRS as to its price.” Id. at

67. The Decision therefore was “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” it otherwise violated the APA, and it

therefore must be “held unlawful” and “set aside.” APA § 706(2).

                             J. Arbitration Count No. 5

      75.    Arbitration Count No. 5 argued that the U.S. Army violated the R-

SA because, allegedly, “in finding the proposal outside of the competitive

range, it failed to follow the stated evaluation criteria.” Mandate Letter at 2.



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Yet ODRS did not discuss (in its arbitration count) the “stated evaluation

criteria” in the Solicitation, or how the U.S. Army failed to follow them.19 This

argument simply is baseless, and even if it were true, it is not a proper function

of an R-SA arbitration panel, with its limited jurisdiction, to resolve it.

      76.    ODRS’s primary “gripe” regarding the evaluation of its proposal is

that its Past Performance was rated “Unacceptable.” Mitchco provided

testimony from ODRS/Cantu’s own senior staff that ODRS’s performance was,

in fact, appalling. In any event, the U.S. Army’s evaluation of ODRS’s Past

Performance was not “arbitrary or capricious” under the APA, nor does a

Department arbitration panel have any authority to review such evaluations

under the R-SA. As the Court of Federal Claims noted when it rejected

ODRS’s legal argument, proposal evaluation of such evaluation factors as past

performance is assessed by the agency exercising its reasonable discretion,

consistent with the terms of the pertinent solicitation and the FAR. Not only

was the Army’s evaluation proper in that regard, but the R-SA also does not

provide the rules for an agency’s assessment of past performance. The

Arbitration Panel therefore lacked the jurisdiction to address this argument.




19
  In fact, ODRS presented these arguments to the CFC, where they were
heard on the merits and rejected, as shown above.


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      77.    Furthermore, the U.S. Army adjudged ODRS’s proposal to be

outside the competitive range because its Past Performance was rated

“Unacceptable,” and because its proposed price was by far the most profligate.

The Arbitration Panel has no authority whatever to “second-guess” the Army’s

competitive range determination.

      78.    Review of the record here will show that before the Arbitration

Panel, ODRS never addressed the stated evaluation criteria for Past

Performance. Even if ODRS had done so, its objection to the U.S. Army’s

evaluation of its past performance was shown at the arbitration hearing to be

entirely without merit.

      79.    At the hearing, two former ODRS/Cantu managers proffered as

witnesses by Mitchco frankly admitted that Cantu’s poor performance resulted

from a deliberate decision by Cantu to understaff the ODRS contract. They

also confirmed that the Army’s evaluation of ODRS’s horrible past

performance was accurate.

      80.    Despite the above, the Arbitration Panel ruled that “the past

performance evaluation conducted by the Army violates the Past Performance

Criteria of the Solicitation and 34 C.F.R. § 395.33(b) and should not been used

by the Army to exclude ODRS from the competitive range.” Decision at 64-




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65.20 The Decision therefore was “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law” and otherwise violative of the APA,

and therefore must be “held unlawful” and “set aside.” APA § 706(2).

                         K.     Arbitration Count No. 6

      81.    Arbitration Count No. 6 is whether the U.S. Army “failed to

properly determine whether [ODRS’s] proposal could provide services at a

reasonable cost.” Mandate Letter at 2.

      82.    ODRS’s proposed price was $145.7 million, while the historical

average price was $102.5 million. Decision at 14. ODRS’s proposal was 54%

higher than the Government estimate (the ICGE). Id. In other words, ODRS

was trying to parlay its atrocious past performance into, approximately, a 50%

raise for substantially the same work. By any rational standard, ODRS’s

proposed price was absurdly extravagant. Mitchco’s winning price proposal, by

contrast, was less than one percent higher than the historical average price.

      83.    Without citing any supporting legal authority, ODRS has

attempted to expand the jurisdiction and authority of the Arbitration Panel into

a reviewing body regarding agency competitive range determinations under



 With all due respect to the arbitration panel, any review of the transcript of
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even only the third day of hearing testimony demonstrates that this
conclusion is unsupported by substantial evidence, and in fact it is wildly at
odds with the evidence.


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agency solicitations and the FAR. The R-SA does not empower the Arbitration

Panel to pass judgment on price reasonableness or competitive range

determinations by the agency. Other statutes and regulations give agencies, the

GAO and the Court of Federal Claims jurisdiction of such matters.

      84.    Assuming, arguendo, that this Arbitration Panel did have such

authority, it would have to conclude that the U.S. Army’s competitive range

determination was correct here, under controlling legal authority. As noted in

the Regulations, a proposal in the competitive range is one that “has been

ranked among those proposals which have a reasonable chance of being

selected for final award.” 34 C.F.R. § 395.33. The U.S. Army judged that

ODRS’s proposal did not have a reasonable chance of being selected for final

award. For reasons discussed above, that was an exceedingly easy decision for

the U.S. Army to make. ODRS was not in the competitive range, and it could

not lawfully have been included in the competitive range. See FAR 15.603(c)

(“the contracting officer shall establish a competitive range comprised of all of

the most highly rated proposals”). In no way, shape or form was ODRS’s

proposal one of “the most highly rated proposals.”

      85.    The Decision does not directly address this issue. Tangentially, the

Decision states that “ODRS’s bid could have been lowered had the Army and

both agreed to be contractually bound to provide three-day notice of meal



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counts and properly conducted meaningful discussions with ODRS as to its

price.” Decision at 67. This is essentially a non sequitur; the arbitration panel

has no authority to rewrite the Solicitation to change the requirement to

ODRS’s liking, regarding “three-day notice of meal counts” or anything else.21

The Decision therefore was “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law” and otherwise violative of the APA, and

it therefore must be “held unlawful” and “set aside.” APA § 706(2).

                           REQUEST FOR RELIEF

      For the reasons stated above, as applied to each argument, the Decision

is:

      (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
      accordance with law;
      (B) contrary to constitutional right, power, privilege, or immunity;
      (C) in excess of statutory jurisdiction, authority, or limitations, or short of
      statutory right;
      (D) without observance of procedure required by law;
      (E) unsupported by substantial evidence in a case subject to
      sections 556 and 557 of [T]itle [5] or otherwise reviewed on the record of
      an agency hearing provided by statute; or
      (F) unwarranted by the facts to the extent that the facts are subject to trial
      de novo by the reviewing court.




21
  Moreover, nothing in the record suggests that the presence or absence of
“three-day notice of meal counts” accounted (or could account) for the $50+
million price difference between the ODRS and Mitchco proposals, or
explain why ODRS’s proposal was, by far, the most expensive. Here again,
such rules applied equally to all offerors.


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Id.

      WHEREFORE, Plaintiff Mitchco respectfully requests judgment as

follows:

      86.    A declaration that the Department’s Decision is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law” and

otherwise in violation of the APA, and therefore it is “unlawful” under APA §§

556, 706(2)(b) & 706(2)(d);

      87.    An injunction that “set[s] aside” the Decision, id. § 706(2), and

that permanently enjoins the Department and the U.S. Army from implementing

or otherwise enforcing any part of the Decision; and

      88.    Such other relief as the Court deems just and proper, including

without limitation reasonable attorneys’ fees and costs.



                                       Respectfully submitted,

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